            Case MDL No. 3100 Document 347 Filed 02/02/24 Page 1 of 3




                BEFORE THE UNITED STATES JUDICIAL PANEL
                     ON MULTIDISTRICT LITIGATION



 In re: Real Estate Commission Antitrust Litigation          MDL No. 3100



       INTERESTED PARTY REPLY OF PLAINTIFFS JENNIFER NOSALEK,
     RANDY HIRSCHORN AND TRACEY HIRSCHORN TO GIBSON AND UMPA
         PLAINTIFFS’ MOTION FOR TRANSFER AND CENTRALIZATION

        Pursuant to Rule 6.2(e) of the Rules of Procedure for the Judicial Panel on Multidistrict

Litigation (“JPML”), Plaintiffs Jennifer Nosalek, Randy Hirschorn, and Tracey Hirschorn

(“Plaintiffs”), the named Plaintiffs in the action captioned Nosalek v. MLS PIN et al., No. 20-cv-

12244-PBS (D. Mass.), pending in the District of Massachusetts, file this Interested Party

Response to the Gibson and Umpa Plaintiffs’ Motion to Transfer [ECF Nos. 1 and 2].

        Plaintiffs filed the Nosalek action on December 16, 2020, prior to the filing of the Motion

to Transfer. In their Complaint, Plaintiffs brought claims against four broker defendants and also

against MLS Property Information Network, Inc. (“MLS PIN”), the regional electronic database

for residential real estate being offered for sale.

        On June 30, 2023, Plaintiffs signed a settlement agreement with MLS PIN and moved for

preliminary approval of that settlement (see [Nosalek ECF No. 192]). Plaintiffs have not resolved

their claims as to the four broker defendants. The Massachusetts District Court granted

preliminary approval to the MLS PIN settlement on September 7, 2023 (see [Nosalek ECF No.

227]). Final approval proceedings remain ongoing in Massachusetts.

        Nosalek was not cited in the Motion to Transfer, and was not listed in the Gibson and

Umpa Plaintiffs’ Schedule of Actions. See [ECF Nos. 1 and 2], and so the Nosalek Plaintiffs did

not file a response to the Motion to Transfer. However, Nosalek has now been identified as a
            Case MDL No. 3100 Document 347 Filed 02/02/24 Page 2 of 3




potential related action in responses supporting transfer filed by defendants National Association

of Realtors (“NAR”) [ECF No. 295 at 7, 9-11] and Redfin Corporation [ECF No. 294 at 3 n.3],

as well as by plaintiff Joseph Masiello [ECF No. 286-1 at 7].1

        The Nosalek Plaintiffs take no position on transfer of their claims against the broker

defendants. However, Plaintiffs respectfully submit that this Panel should not transfer the MLS

PIN portion of the Nosalek case. The Massachusetts Court has already preliminarily approved a

settlement with MLS PIN, which settlement is proceeding through the Final Approval process.

As a result, there are no efficiencies to be gained by transferring Plaintiffs’ case against MLS

PIN. Indeed, given the pending settlement, there are no pretrial proceedings to consolidate at all,

and thus no coordination benefits to such a transfer. Rather than promoting expedient resolution,

transferring Plaintiff’s preliminarily settled claims against MLS PIN will only needlessly prolong

that component of the Nosalek litigation, while also introducing irrelevant and advanced

settlement proceedings (with the attendant potential delays) into the MDL process.

        Accordingly, should this Panel transfer the Nosalek action generally, Plaintiffs at least

request that this Panel simultaneously separate and remand to the District of Massachusetts

Plaintiffs’ claims against MLS PIN. See In re: Disposable Contact Lens Antitrust Litigation,

MDL No. 2626, ECF No. 256 (June 5, 2019), at 2 (transferring action but ordering that certain

claims be “separated and simultaneously remanded” because “transferring the entire [disputed]

action” would raise additional issues “that could unduly prolong the MDL proceedings”).




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 In addition, defendants Marin Association of Realtors and Weichert Realtors both join the NAR’s filing.
See [ECF Nos. 261 and 271].
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          Case MDL No. 3100 Document 347 Filed 02/02/24 Page 3 of 3




Dated: February 2, 2024            Respectfully submitted,

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